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                                    United States Bankruptcy Court
                                          Eastern District of Pennsylvania
                                                Case No. 08−10601−mdc
                                                      Chapter 13

In re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
    Robert Francis Laing                                      Joann Laing
    8624 Marigold Place                                       aka Joann Eckert
    Philadelphia, PA 19136                                    8624 Marigold Place
                                                              Philadelphia, PA 19136
Social Security No.:
   xxx−xx−9221                                              xxx−xx−4622
Employer's Tax I.D. No.:



                          DISCHARGE OF DEBTOR AFTER COMPLETION
                                   OF CHAPTER 13 PLAN

It appearing that the debtor is entitled to a discharge,

IT IS ORDERED:

The debtor is granted a discharge under section 1328(a) of title 11, United States Code, (the Bankruptcy Code).



                                                            BY THE COURT

Dated: 3/25/14                                              Magdeline D. Coleman
                                                            United States Bankruptcy Judge



                   SEE THE BACK OF THIS ORDER FOR IMPORTANT INFORMATION.
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                                EXPLANATION OF BANKRUPTCY DISCHARGE
                                        IN A CHAPTER 13 CASE

     This court order grants a discharge to the person named as the debtor after the debtor has completed all
payments under the chapter 13 plan. It is not a dismissal of the case.

Collection of Discharged Debts Prohibited

      The discharge prohibits any attempt to collect from the debtor a debt that has been discharged. For example, a
creditor is not permitted to contact a debtor by mail, phone, or otherwise, to file or continue a lawsuit, to attach wages
or other property, or to take any other action to collect a discharged debt from the debtor. [In a case involving
community property: There are also special rules that protect certain community property owned by the debtor's
spouse, even if that spouse did not file a bankruptcy case.] A creditor who violates this order can be required to pay
damages and attorney's fees to the debtor.

      However, a creditor may have the right to enforce a valid lien, such as a mortgage or security interest, against
the debtor's property after the bankruptcy, if that lien was not avoided or eliminated in the bankruptcy case. Also, a
debtor may voluntarily pay any debt that has been discharged.

Debts That are Discharged

       The chapter 13 discharge order eliminates a debtor's legal obligation to pay a debt that is discharged. Most, but
not all, types of debts are discharged if the debt is provided for by the chapter 13 plan or is disallowed by the court
pursuant to section 502 of the Bankruptcy Code.

Debts That are Not Discharged.

      Some of the common types of debts which are not discharged in a chapter 13 bankruptcy case are:

      a. Domestic support obligations;

      b. Debts for most student loans;

      c. Debts for most fines, penalties, forfeitures, or criminal restitution obligations;

      d. Debts for personal injuries or death caused by the debtor's operation of a motor vehicle, vessel, or aircraft
      while intoxicated;

      e. Debts for restitution, or damages, awarded in a civil action against the debtor as a result of malicious or
      willful injury by the debtor that caused personal injury to an individual or the death of an individual (in a case
      filed on or after October 17, 2005);

      f. Debts provided for under section 1322(b)(5) of the Bankruptcy Code and on which the last payment is due
      after the date on which the final payment under the plan was due;

      g. Debts for certain consumer purchases made after the bankruptcy case was filed if prior approval by the
      trustee of the debtor's incurring the debt was practicable but was not obtained;

      h. Debts for certain taxes to the extent not paid in full under the plan (in a case filed on or after October 17,
      2005); and

      i. Some debts which were not properly listed by the debtor (in a case filed on or after October 17, 2005).



       This information is only a general summary of the bankruptcy discharge. There are exceptions to these
general rules. Because the law is complicated, you may want to consult an attorney to determine the exact
effect of the discharge in this case.
